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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA


   In Re:                                            CASE NO. 24-11137

   680 WALL BLVD., LLC,                              SECTION A

      Debtor.                                        CHAPTER 11




              UNITED STATES TRUSTEE'S MOTION TO DISMISS CASE OR,
                IN THE ALTERNATIVE, CONVERT CASE TO CHAPTER 7


         NOW INTO COURT comes the Acting United States Trustee for Region 5, through

  undersigned counsel, and respectfully moves this Court for an Order dismissing this case or, in the

  alternative, converting this case to one under Chapter 7, pursuant to 11 U.S.C. § 1112(b). In

  support thereof, the United States Trustee respectfully submits, as follows:

                                           JURISDICTION

         1.        The Court has jurisdiction over this matter under 28 U.S.C. § 1334(a) and (b), and

  28 U.S.C. § 157 (a) and (b)(1). This is a core proceeding under 28 U.S.C. § 157(b)(2). This motion

  is filed pursuant to 11 U.S.C. § 1112(b).

         2.        By virtue of the Chapter 11 filing, this case is subject to the supervision and

  administration of the United States Trustee (hereinafter “UST”) pursuant to 28 U.S.C. §586. As

  provided under 11 U.S.C. §307, the UST may raise, appear, and be heard on any issue in any case

  or proceeding.

                                     FACTUAL BACKGROUND

         3.        680 Wall Blvd., LLC (hereinafter “Debtor”) filed a voluntary petition for relief

  under Chapter 11 of Title 11, United States Code, on June 17, 2024 [ECF-1].
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          4.       No Chapter 11 Trustee has been appointed in the case, and the Debtor remains in

  possession and control of its property as a debtor in possession pursuant to 11 U.S.C. §§ 1107 and

  1108.

          5.       Debtor’s petition states that it is a single asset real estate case under 11 U.S.C.

  §101(51B) [ECF-1, Question 7], but the Debtor also checked the box indicating it elected to

  proceed as a Subchapter V debtor [ECF-1, Question 8]. 1 The petition filed indicates the only asset

  of the Debtor is a single parcel of real estate located at 680 Wall Blvd., Gretna, LA 70056 [ECF-

  1-2, p. 6], and only one secured creditor is listed [ECF-1-3].

          6.       The petition is signed by Tiffany Peters “obo 680 Wall Blvd., LLC,” and under

  Question 18 “Signature of attorney,” is written “None” [ECF-1, p. 5]. The party docket in the case

  appears to indicate that Tiffany A. Peters is representing the Debtor. However, upon information

  and belief, Ms. Peters is not currently a licensed attorney in Louisiana. (See Exhibit A, attached,

  Louisiana State Bar Association search result.)




  1
   The definition of Subchapter V debtor in 11 U.S.C. § 1182(1)(A) specifically excludes debtors “whose primary
  activity is the business of owning single asset real estate.”
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           7.     The UST asserts that, pursuant to 11 U.S.C. § 1112(b), this case should be

  dismissed or, in the alternative, converted to a Chapter 7 case, for cause.

                                         LAW AND ANALYSIS

           8.     Section 1112(b)(1) governs conversion or dismissal of a Chapter 11 case and

           provides, in pertinent part, as follows:

           (b)(1) . . . on request of a party in interest, and after notice and a hearing . . . the
           court shall convert a case under this chapter to a case under chapter 7 or dismiss a
           case under this chapter, whichever is in the best interests of creditors and the estate,
           if the movant establishes cause.

           9.     Section 1112(b) contains a list of particular conduct or circumstances that amount

  to “cause.” The list is not exhaustive, and the Court is free to consider other factors and use its

  equitable powers to reach an appropriate result. See In re Domino, No. 07-2829, 2008 WL 915205,

  at *2 (E.D.La. March 31, 2008); In re Global Ship Sys., LLC, 391 B.R. 193, 202 (Bankr. S.D. Ga.

  2007).

           10.    Cause exists to dismiss a Chapter 11 bankruptcy case where the Debtor fails to

  satisfy timely any filing or reporting requirement established by Title 11, United States Code, or

  by any rule applicable to the bankruptcy case under Chapter 11. 11 U.S.C. § 1112(b)(F).

  I. The Debtor is not represented by an attorney.

           11.      Corporations, partnerships, and other juridical entities must be represented by

  counsel. See Eagle Associates v. Bank of Montreal, 926 F.2d 1305 (2nd Cir. 1991); 28 USC §

  1654; see also In re ICLNDS Notes Acquisition, LLC, 259 B.R. 289 (Bankr. N.D. Ohio 2001) (LLC

  could only appear in court through an attorney). The Debtor is at present proceeding pro se.

           12.    For the reasons cited above, the UST requests that this case be dismissed, or in the

  alternative, converted to a Chapter 7 proceeding.
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         WHEREFORE, the U.S. Trustee prays that this Honorable Court enter an order dismissing

  or converting the above-captioned case pursuant to 11 U.S.C. § 1112(b) for the reasons cited

  herein. The U.S. Trustee further prays for all appropriate general and equitable relief.


                                                Respectfully submitted,

                                                DAVID W. ASBACH
                                                Acting United States Trustee
                                                Region 5, Judicial Districts of
                                                Louisiana and Mississippi

                                                By:/s/ Rachel T. Vogeltanz
                                                Rachel T. Vogeltanz, Trial Attorney
                                                La. Bar No. 33501
                                                400 Poydras Street, Suite 2110
                                                New Orleans, LA 70130
                                                Tel: (504) 589-2514
                                                Fax: (504) 589-4096
                                                Rachel.Vogeltanz@usdoj.gov
